          Case 3:23-cv-03674-EMC Document 56 Filed 11/30/23 Page 1 of 5



 1   G. Hopkins Guy, III (SBN 124811)
     Hop.guy@bakerbotts.com
 2   BAKER BOTTS L.L.P.
     1001 Page Mill Road
 3   Building One, Suite 200
     Palo Alto, CA 94304-1007
 4   Phone: 650-739-7500
     Fax: 650-739-7699
 5

 6   Attorney for Defendants
     DISH Technologies L.L.C. and Sling TV L.L.C.
 7

 8                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9
                                   SAN FRANCISCO DIVISION
10
     MG Freesites LTD,                              Case No.: 3:23-cv-03674-EMC
11
                      Plaintiff,
12                                                   DEFENDANTS’ REQUEST FOR
           v.                                        JUDICIAL NOTICE ISO DISH’S
13                                                   OPPOSITION TO MG FREESITES
     DISH Technologies L.L.C and Sling               LTD’S MOTION TO AMEND THE
14   TV L.L.C.,                                      CASE CAPTION OR, IN THE
                                                     ALTERNATIVE, FOR LEAVE TO
15                    Defendants.                    FILE SECOND AMENDED
                                                     COMPLAINT
16
                                                    Hearing: December 4, 2023
17                                                  Time:       9:00 a.m.
                                                    Judge:      Hon. Edward M. Chen
18                                                  Trial Date: None Set
                                                    Courtroom: 5, 17th Floor
19

20

21

22

23

24

25

26

27

28    DISH’S REQUEST FOR JUDICIAL NOTICE ISO DISH’S OPPOSITION TO MG FREESITES LTD’S MOTION
      TO AMEND THE CASE CAPTION OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE SECOND AMENDED
                                           COMPLAINT
                                    CASE NO. 3:23-CV-03674-EMC
            Case 3:23-cv-03674-EMC Document 56 Filed 11/30/23 Page 2 of 5



 1                                 NOTICE OF MOTION AND MOTION
 2
              Defendants DISH Technologies L.L.C. and Sling TV L.L.C. (collectively, “DISH”) hereby
 3
     gives notice of its request that the Court take judicial notice, pursuant to Federal Rule of Evidence
 4
     201, of certain judicial decisions and hearing transcripts in the Fleites v. MindGeek S.a.r.l. case, No.
 5
     2:21-cv-04920-CJC-ADS (“Fleites”). DISH makes this request both as a supplement to its statements
 6

 7   in the November 16, 2023 Case Management Conference (“CMC”) and in support of its Opposition

 8   to MG Freesites Ltd’s (“MG Freesites”) Motion to Amend the Case Caption or, Alternatively, For

 9   Leave to File A Second Amended Complaint (“Motion to Amend the Case Caption”). True and correct
10
     copies of the documents for which DISH requests the Court take judicial notice are attached as exhibits
11
     hereto along with the Declaration of G. Hopkins Guy, III.
12
                                   STATEMENT OF RELIEF SOUGHT
13
              DISH requests that the Court take judicial notice of certain recent judicial decisions and
14

15   hearing transcripts memorializing certain judicial proceedings in the Fleites case.1

16                      POINTS AND AUTHORITIES IN SUPPORT OF MOTION
17            This request is made pursuant to Federal Rule of Evidence 201, and based on this notice and
18
     motion, the following points and authorities, the declaration of G. Hopkins Guy, III in support of this
19
     motion filed herewith and the exhibits attached thereto, and reply papers that may be filed and other
20
     such matters as may be brought before the Court prior to or at the hearing on this motion.
21

22

23

24
     1
       In the parties’ November 16, 2023, Case Management Conference, counsel for DISH notified the
25   Court of the Fleites case, including statements made by Judge Cormac Carney, Magistrate Judge
     Autumn Spaeth, and counsel. This Request for Judicial Notice of those statements supplements the
26   statements DISH made in the Case Management Conference and notifies the Court of the sources for
     those statements ahead of the hearing on the Motion to Amend the Case Caption, which was set by
27   the Court during the Case Management Conference.
                                                     ii
28       DISH’S REQUEST FOR JUDICIAL NOTICE ISO DISH’S OPPOSITION TO MG FREESITES LTD’S MOTION
         TO AMEND THE CASE CAPTION OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE SECOND AMENDED
                                              COMPLAINT
                                       CASE NO. 3:23-CV-03674-EMC
            Case 3:23-cv-03674-EMC Document 56 Filed 11/30/23 Page 3 of 5



 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2            As DISH discussed during the November 16, 2023, CMC, MindGeek’s 2 recent efforts to “re-
 3   brand” itself as “Aylo” may have involved more than merely administratively replacing “MG” or
 4   “MindGeek” with “Aylo.” Ex. A, Nov. 16, 2023 Tr, at 17:6-19. DISH objects to the extent that the
 5   newly identified Aylo entities do not maintain the same financial status, assets, or capitalization, as
 6   the MindGeek entities. DISH submits this judicial notice to confirm that DISH’s concerns are not
 7   unique; other Courts in California are laboring to understand MindGeek, its corporate structure, its
 8   entities’ operations, its entities’ capitalization, and more. To that end, DISH respectfully requests that
 9   the Court take judicial notice of the following documents (and the highlighted content therein) from
10   the Fleites case involving the same MG Freesites Ltd and MG Premium Ltd parties here:
11                   1.      D.I. 167 (Order Directing the MindGeek Defendants to Submit to Jurisdictional
                             Discovery Until December 30, 2022) (Carney, J) (attached hereto as Exhibit B).
12
                     2.      D.I. 253 (Transcript of January 11, 2023 Hearing Re: Defendant MindGeek
13                           Entities’ Motion to Compel Responses to Interrogatories and Requests for
                             Production of Documents [Dkt. No. 223]; Plaintiffs’ Motion to Compel
14                           Defendant MindGeek Entities’ Responses to Plaintiffs’ First Request for
                             Production of Documents and Interrogatories [Dkt. No. 224]) (attached hereto
15                           as Exhibit C).

16                   3.      D.I. 312 (Transcript of March 8, 2023 Hearing of Plaintiffs’ Motions to
                             Compel [261], [264], [267], [274]) (attached hereto as Exhibit D).
17
              Federal Rule of Evidence 201 provides that “[a] judicially noticed fact must be one not subject
18
     to reasonable dispute in that it is either (1) generally known within the territorial jurisdiction of the
19
     trial court or (2) capable of accurate and ready determination by resort to sources whose accuracy
20

21   cannot reasonably be questioned.” FED. R. EVID. 201(b). “Judicially noticeable facts include ‘court

22   records from another case’ and ‘party admissions.’” Aldini AG v. Silvaco, Inc. et al., Case No. 4:21-
23   cv-06423-JST, D.I. 42 at 3 (quotations omitted) (taking judicial notice of party declarations).
24

25

26   2
      The term “MindGeek,” according to the First Amended Complaint (“FAC”), can refer to “any one
     of a number of different legal entities, such as MG Freesites Ltd … or MG Premium Ltd.” D.I. 29
27   ¶66.
                                                        1
28       DISH’S REQUEST FOR JUDICIAL NOTICE ISO DISH’S OPPOSITION TO MG FREESITES LTD’S MOTION
         TO AMEND THE CASE CAPTION OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE SECOND AMENDED
                                              COMPLAINT
                                       CASE NO. 3:23-CV-03674-EMC
             Case 3:23-cv-03674-EMC Document 56 Filed 11/30/23 Page 4 of 5



 1            The Fleites judicial orders and hearing transcripts meet this standard. See Hernandez v. Wells
 2   Fargo & Co., Case No. 18-cv-07354-WHA, 2019 WL 3017657, at *5 (N.D. Cal. July 10, 2019)
 3   (treating statements previously made by a party in a different lawsuit as judicially noticeable party
 4   admissions). As stated in the Fleites judicial notice material:
 5                 “The Court also has some concern with respect to the capitalization or solvency of
           the MindGeek Entity Defendants. Plaintiff alleges that “MindGeek” has accrued millions of
 6         dollars of revenue in the past three to five years while operating at “massive” net losses,
           owing to various schemes in which some MindGeek Defendants bleed money out of others
 7
           through fraudulent transactions. (See, e.g., id. ¶¶ 131-37.)” Fleites, D.I. 167 at 4 (emphasis
 8         added).
                   “And therein lies the possible unfairness in dismissing any of the MindGeek
 9         Defendants at this point in the proceedings: the possibility that judgment will be entered
10         against remaining insolvent or undercapitalized entities. If the jury finds that the MindGeek
           Defendants engaged in schemes which diverted money from revenue generating MindGeek
11         entities in contravention of corporate formalities, the Court is concerned with the ability of
           the non-objecting MindGeek Entity Defendants to satisfy the damages awarded by a jury.”
12         Fleites, D.I. 167 at 4 (emphasis added).
13                “Conspicuously, the MindGeek Individual Defendants do not submit their own
           declarations to rebut these allegations.” Fleites, D.I. 167 at 5 (emphasis added).
14
     II.      CONCLUSION
15
              For these reasons, DISH respectfully requests that this Court judicially notice the above-
16
     mentioned orders and hearing transcripts.
17

18

19    Date: November 30, 2023                                Respectfully submitted,

20

21                                                           /G. Hopkins Guy, III/
                                                             G. Hopkins Guy, III (SBN 124811)
22                                                           Hop.guy@bakerbotts.com
                                                             BAKER BOTTS L.L.P.
23                                                           1001 Page Mill Road
                                                             Building One, Suite 200
24                                                           Palo Alto, CA 94304-1007
                                                             Phone: 650-739-7500
25                                                           Fax: 650-739-7699
26
                                                             Attorney for Defendants
27

28                                                       2
      DISH’S REQUEST FOR JUDICIAL NOTICE ISO DISH’S OPPOSITION TO MG FREESITES LTD’S MOTION
      TO AMEND THE CASE CAPTION OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE SECOND AMENDED
                                           COMPLAINT
                                    CASE NO. 3:23-CV-03674-EMC
        Case 3:23-cv-03674-EMC Document 56 Filed 11/30/23 Page 5 of 5



 1                                                DISH TECHNOLOGIES L.L.C. AND SLING TV
                                                  L.L.C.
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                            3
     DISH’S REQUEST FOR JUDICIAL NOTICE ISO DISH’S OPPOSITION TO MG FREESITES LTD’S MOTION
     TO AMEND THE CASE CAPTION OR, IN THE ALTERNATIVE, FOR LEAVE TO FILE SECOND AMENDED
                                          COMPLAINT
                                   CASE NO. 3:23-CV-03674-EMC
